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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x
In re
                                                                     Chapter 7
AIDA LUZ SANTIAGO,
                                                                     Case No. 19-12358-jlg

                                             Debtor.
-----------------------------------------------------------------x
Victor Santiago and
Sandra Almodovar Santiago,

                                            Plaintiffs,
                 -against-                                           Adv. Proc. No. 19-01361-jlg

Alan Nisselson, as the Chapter 7 Trustee
of the Estate of Aida Luz Santiago,

                                             Defendant.
-----------------------------------------------------------------x

                                          SCHEDULING ORDER

A pre-trial conference was held before The Honorable James L. Garrity, Jr. in the above-

captioned adversary proceeding on June 18, 2020. The parties have agreed and the Court has

determined that the following schedule shall govern the events leading up to and including the

final pre-trial conference in this adversary proceeding.

         1.      Jurisdiction and Power. By signing this scheduling order, the parties agree that

the Bankruptcy Judge may enter final orders and/or judgments in this matter.

         2.      Status Report. On or before September 1, 2020 at 5:00 p.m., Plaintiffs shall (a)

electronically file with the Court on the docket of this adversary proceeding, (b) send by

electronic mail to the Trustee and his undersigned counsel, and (c) mail two hard copies to

Chambers of The Honorable James L. Garrity, Jr., United States Bankruptcy Court, One Bowling

Green, New York, New York 10004, a status report reflecting Plaintiffs’ progress in refinancing




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or selling the property that is the subject of this adversary proceeding.

         3.     Adjourned Pre-Trial Conference. The pre-trial conference in this adversary

proceeding is adjourned to September 15, 2020 at 11:00 a.m., prevailing Eastern time.

         4.     Extension of Trustee’s Time to Respond to Complaint. The deadline for the

Trustee to answer, plead to, or move against the complaint in this adversary proceeding is

extended to and through October 15, 2020.

Stipulated and Agreed as to form and substance:

Dated: June 23, 2020

                                       /s/ Victor Santiago
                                       Victor Santiago, Plaintiff


                                       /s/ Sandra Almodovar Santiago
                                       Sandra Almodovar Santiago, Plaintiff


Dated: New York, New York
       June 23, 2020                   WINDELS MARX LANE & MITTENDORF, LLP
                                       Attorneys for Alan Nisselson, Chapter 7 Trustee, Defendant


                                       By:     /s/ Leslie S. Barr
                                               Alan Nisselson (anisselson@windelsmarx.com)
                                               Leslie S. Barr (lbarr@windelsmarx.com)
                                               156 West 56th Street
                                               New York, New York 10019
                                               Tel. (212) 237-1000 / Fax. (212) 262-1215

SO ORDERED:
New York, New York
this 26th day of June, 2020


                                       /s/   James L. Garrity, Jr.
                                       United States Bankruptcy Judge




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